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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

ALICIA STREET, et al.,                    )
                                          )
            Plaintiffs,                   )
                                          )
      vs.                                 )         Case No. 4:19 CV 2590 CDP
                                          )
LAWRENCE O’TOOLE, et al.,                 )
                                          )
            Defendants.                   )

                                       ORDER

      As requested by plaintiffs with consent of defense counsel in response to the

Court’s Order to Show Cause [ECF 47],

      IT IS HEREBY ORDERED that, by no later than October 5, 2020, the

City Counselor’s office must enter an appearance on behalf of Defendants Rebecca

Andrews, Daniel Cora, Bradford Ellis, Orie Figgs, Michael Flatley, Derrick Frye,

Daniel Howard, Jon Long, Brandon Moore, Aaron Mueller, William Olsten, Cliff

Sommer, Christopher Tanner, Matt Tesreau, James Wurm, Dustin Boone, Bailey

Colletta, Randy Hays, Steve Korte, & Christopher Myers, or Plaintiffs must serve

these Defendants, or the claims against these Defendants will be dismissed without

prejudice, and the Defendants will be dismissed as parties from this action.



                                       CATHERINE D. PERRY
                                       UNITED STATES DISTRICT JUDGE
Dated this 31st day of August, 2020.
